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     Office of Justice Programs




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     National Institute of Justice                                                       J US T I C E P




                Eyewitness Evidence
                                       A Guide for Law Enforcement




                                                        research report
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           Eyewitness Evidence:
       A Guide for Law Enforcement


                        Developed and Approved by the
                Technical Working Group for Eyewitness Evidence




                                October 1999


                                                           Exhibit B - 3
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                                U.S. Department of Justice
                                 Office of Justice Programs

                               National Institute of Justice
                                   Jeremy Travis, J.D.
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                                   Richard M. Rau, Ph.D.
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                                        NCJ 178240


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           tice Programs, which also includes the Bureau of Justice Assistance,
           the Bureau of Justice Statistics, the Office of Juvenile Justice and
           Delinquency Prevention, and the Office for Victims of Crime.




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             Message From the Attorney General

           E      yewitnesses frequently play a vital role in uncovering the truth
                  about a crime. The evidence they provide can be critical in identi-
           fying, charging, and ultimately convicting suspected criminals. That is
           why it is absolutely essential that eyewitness evidence be accurate and
           reliable. One way of ensuring we, as investigators, obtain the most
           accurate and reliable evidence from eyewitnesses is to follow sound
           protocols in our investigations.

           Recent cases in which DNA evidence has been used to exonerate indi-
           viduals convicted primarily on the basis of eyewitness testimony have
           shown us that eyewitness evidence is not infallible. Even the most honest
           and objective people can make mistakes in recalling and interpreting a
           witnessed event; it is the nature of human memory. This issue has been at
           the heart of a growing body of research in the field of eyewitness identifi-
           cation over the past decade. The National Institute of Justice convened
           a technical working group of law enforcement and legal practitioners,
           together with these researchers, to explore the development of improved
           procedures for the collection and preservation of eyewitness evidence
           within the criminal justice system.

           This Guide was produced with the dedicated and enthusiastic participa-
           tion of the seasoned professionals who served on the Technical Working
           Group for Eyewitness Evidence. These 34 individuals brought together
           knowledge and practical experience from jurisdictions large and small
           across the United States and Canada. I applaud their effort to work
           together over the course of a year in developing this consensus of recom-
           mended practices for law enforcement.

           In developing its eyewitness evidence procedures, every jurisdiction
           should give careful consideration to the recommendations in this Guide
           and to its own unique local conditions and logistical circumstances.
           Although factors that vary among investigations, including the nature and
           quality of other evidence and whether a witness is also a victim of the



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         crime, may call for different approaches or even preclude the use of
         certain procedures described in the Guide, consideration of the Guide’s
         recommendations may be invaluable to a jurisdiction shaping its own
         protocols. As such, Eyewitness Evidence: A Guide for Law Enforcement
         is an important tool for refining investigative practices dealing with this
         evidence as we continue our search for truth.


                                                   Janet Reno




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              Technical Working Group for Eyewitness Evidence

           T      he Technical Working Group for Eyewitness Evidence
                  (TWGEYEE) is a multidisciplinary group of content-area experts
           from across the United States and Canada, from both urban and rural
           jurisdictions, each representing his or her respective agency or practice.
           Each of these individuals is experienced in the use of eyewitness evi-
           dence in the criminal justice system from the standpoints of law enforce-
           ment, prosecution, defense, or social science.

           At the outset of the TWGEYEE effort, the National Institute of Justice
           (NIJ) created a Planning Panel—composed of distinguished law enforce-
           ment, legal, and research professionals—to define needs, develop initial
           strategies, and steer the larger group. Additional members of the Techni-
           cal Working Group then were selected from recommendations solicited
           from the Planning Panel, NIJ’s regional National Law Enforcement and
           Corrections Technology Centers, and national organizations, including
           the National Sheriffs’ Association, the International Association of Chiefs
           of Police, the National District Attorneys Association, the National
           Association of Criminal Defense Lawyers, and the National Legal Aid &
           Defender Association.

           Collectively, over a 1-year period, the 34 members of TWGEYEE listed
           below worked together to develop this handbook, Eyewitness Evidence:
           A Guide for Law Enforcement.

           Planning Panel                James Doyle                Capt. Donald Mauro
                                         Attorney at Law            Los Angeles County Sheriff’s
           Comdr. Ella M. Bully (Ret.)
                                         Boston, Massachusetts       Office
           Detroit Police Department
                                                                    Los Angeles, California
           Detroit, Michigan             Ronald P. Fisher, Ph.D.
                                         Florida International      Melissa Mourges
           Sgt. Paul Carroll (Ret.)
                                           University               New York County District
           Chicago Police Department
                                         North Miami, Florida        Attorney’s Office
           Chicago, Illinois                                        New York, New York
                                         Mark R. Larson
           Carole E. Chaski, Ph.D.
                                         King County Prosecutor’s   Gary L. Wells, Ph.D.
           Institute for Linguistic
                                          Office                    Iowa State University
             Evidence                    Seattle, Washington        Ames, Iowa
           Georgetown, Delaware




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         TWGEYEE Members                  Southeast                           Investigations Chief Arlyn
         Northeast                                                              Greydanus
                                          Deputy Daniel Alarcon II
                                                                              Montana Department of
         Michael J. Barrasse              Hillsborough County Sheriff’s
                                                                                Justice
         Lackawanna County District         Office                            Division of Criminal
          Attorney                        Tampa, Florida
                                                                                Investigation
         Scranton, Pennsylvania
                                          First Sgt. Roger Broadbent          Helena, Montana
         Det. Sgt. Chet Bush              Virginia State Police               Investigator Kathy Griffin
         Kent County Sheriff’s Office     Fairfax Station, Virginia
                                                                              Loveland Police Department
         Grand Rapids, Michigan
                                          Cpl. J.R. Burton                    Loveland, Colorado
         Solomon M. Fulero, Ph.D., J.D.   Hillsborough County Sheriff’s       Roy S. Malpass, Ph.D.
         Sinclair College                   Office
                                                                              University of Texas at El Paso
         Dayton, Ohio                     Tampa, Florida
                                                                              El Paso, Texas
         David C. Niblack                 Caterina DiTraglia                  Jeralyn Merritt
         Attorney at Law                  State of Missouri
                                                                              Attorney at Law
         Washington, D.C.                 Public Defender System
                                                                              Denver, Colorado
                                          St. Louis, Missouri
         Det. Lt. Kenneth A. Patenaude
         Northampton Police               Officer Patricia Marshall           West
          Department                      Chicago Police Department           James Fox
         Northampton, Massachusetts       Chicago, Illinois                   San Mateo County District
         Patricia Ramirez                 Det. Ray Staley                       Attorney
         Dodge County District            Kansas City Police Department       Redwood City, California
           Attorney                       Kansas City, Missouri               William Hodgman
         Juneau, Wisconsin                                                    Los Angeles County District
                                          Lt. Tami Thomas
         Senior Investigator              Atlantic Beach Police                Attorney’s Office
          Eugene Rifenburg                  Department                        Los Angeles, California
         New York State Police (Ret.)     Atlantic Beach, North Carolina
                                                                              Canada
         Oneida Indian Nation Police
         Munnsville, New York             Rocky Mountain                      Rod C.L. Lindsay, Ph.D.
                                          Det. Sgt. J. Glenn Diviney (Ret.)   Queen’s University
         Det. Edward Rusticus                                                 Kingston, Ontario
                                          Tarrant County Sheriff’s
         Kent County Sheriff’s Office
         Grand Rapids, Michigan             Office                            John Turtle, Ph.D.
                                          Fort Worth, Texas                   Ryerson Polytechnic University
         Capt. Michael B. Wall                                                Toronto, Ontario
         Northampton Police
          Department
         Northampton, Massachusetts




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             Acknowledgments

           T      he National Institute of Justice (NIJ) acknowledges with great
                   thanks the members of the Technical Working Group for Eyewitness
           Evidence (TWGEYEE) for their extensive efforts on this project and their
           dedication to improving the use of eyewitness evidence in the criminal
           justice system. All of the 34 members of this network of experts gave
           their time and expertise to draft and review the Guide, providing feedback
           and perspectives from a variety of disciplines and from all areas of the
           United States as well as Canada. The true strength of this Guide is
           derived from their commitment to develop procedures that could be
           implemented across the Nation, from small, rural townships to large,
           metropolitan areas. In addition, thanks are extended to the agencies and
           organizations represented by the Technical Working Group members for
           their flexibility and support, which enabled the participants to see this
           project through to completion.

           NIJ is grateful to all the individuals from various national organizations
           across the Nation who responded to the request for nominations of experts
           in the field of eyewitness evidence to serve on TWGEYEE. It was from
           their recommendations that the members were selected. In particular,
           thanks are extended to James D. Polley IV of the National District Attorneys
           Association, Daniel Rosenblatt of the International Association of Chiefs
           of Police, Stuart Statler of the National Association of Criminal Defense
           Lawyers, Clinton Lyons of the National Legal Aid & Defender Association,
           and Aldine N. “Bubby” Moser, Jr., of the National Sheriffs’ Association.

           NIJ would also like to thank the many individuals and organizations who
           reviewed the draft of the Guide and provided valuable comments. Al-
           though these comments were given careful consideration by the Techni-
           cal Working Group in developing the final document, the review by these
           organizations and individuals is not intended to imply their endorsement
           of the Guide.




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        Aspen Systems Corporation, particularly Gayle Garmise and Erica Pope,
        provided tireless work on editing and re-editing the various drafts of the
        Guide. CSR, Incorporated, provided support in arranging the group’s
        many meetings.

        Staff from NIJ and the Office of Justice Programs provided valuable
        input, particularly Janice Munsterman, Karl Bickel, Luke Galant, and
        Anjali Swienton. Special thanks are extended to Lisa Forman and
        Kathleen Higgins for their contributions to the TWG program and to
        Lisa Kaas for her patience, dedication, endurance, and editing skills
        that made the work of TWGEYEE easier.

        Finally, NIJ would like to acknowledge Attorney General Janet Reno,
        whose support and commitment to the improvement of the criminal
        justice system made this work possible.




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            Introduction

          T      he legal system always has relied on the testimony of eyewitnesses,
                 nowhere more than in criminal cases. Although the evidence
          eyewitnesses provide can be tremendously helpful in developing leads,
          identifying criminals, and exonerating the innocent, this evidence is not
          infallible. Even honest and well-meaning witnesses can make errors,
          such as identifying the wrong person or failing to identify the perpetrator
          of a crime.

          To their credit, the legal system and law enforcement agencies have not
          overlooked this problem. Numerous courts and rulemaking bodies have,
          at various times, designed and instituted special procedures to guard
          against eyewitness mistakes. Most State and local law enforcement
          agencies have established their own policies, practices, and training
          protocols with regard to the collection and handling of eyewitness
          evidence, many of which are quite good.

          In the past, these procedures have not integrated the growing body of
          psychological knowledge regarding eyewitness evidence with the practi-
          cal demands of day-to-day law enforcement. In an effort to bring together
          the perspectives of law enforcement, lawyers, and researchers, the
          National Institute of Justice (NIJ) convened the Technical Working
          Group for Eyewitness Evidence (TWGEYEE). The purpose of the group
          was to recommend uniform practices for the collection and preservation
          of eyewitness evidence.

          This Guide differs from earlier efforts in several fundamental ways:

          This Guide is supported by social science research. During the past
          20 years, research psychologists have produced a substantial body of
          findings regarding eyewitness evidence. These findings offer the legal
          system a valuable body of empirical knowledge in the area of eyewitness
          evidence. This Guide makes use of psychological findings, either by
          including them in the procedures themselves or by using them to point




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        the way to the design and development of further improvements in
        procedures and practices for possible inclusion in future amendments or
        revisions to this document.

        This Guide combines research and practical perspectives. The growth
        of social science research into the eyewitness process coincided with
        parallel efforts of law enforcement agencies to improve their own proce-
        dures. This Guide benefits from the inclusion of the diverse perspectives
        of TWGEYEE members; the group included not only researchers but
        also prosecutors, defense lawyers, and working police investigators from
        departments of all sizes and from all regions. This Guide represents a
        combination of the best current, workable police practices and psycho-
        logical research.

        This Guide does not flow from the fear of misconduct. This Guide
        assumes good faith by law enforcement. It identifies procedures and
        practices that will produce more reliable and accurate eyewitness evi-
        dence in a greater number of cases while reducing or eliminating prac-
        tices that can undermine eyewitness reliability and accuracy.

        This Guide promotes accuracy in eyewitness evidence. This Guide
        describes practices and procedures that, if consistently applied, will tend
        to increase the accuracy and reliability of eyewitness evidence, even
        though they cannot guarantee the accuracy (or inaccuracy) of a particular
        witness’ testimony in a particular case. Adherence to these procedures
        can decrease the number of wrongful identifications and should help to
        ensure that reliable eyewitness evidence is given the weight it deserves in
        legal proceedings.

        This Guide is not a legal mandate; it promotes sound professional
        practices. The Guide is not intended to state legal criteria for the admis-
        sibility of evidence. Rather, it sets out rigorous criteria for handling
        eyewitness evidence that are as demanding as those governing the
        handling of physical trace evidence. This Guide encourages the highest
        levels of professionalism.

        Finally, it should be noted that, while this Guide outlines basic proce-
        dures that can be used to obtain the most reliable and accurate informa-


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          tion from eyewitnesses, it is not meant as a substitute for a thorough
          investigation by law enforcement personnel. Eyewitness evidence is often
          viewed as a critical piece of the investigative puzzle, the utility of which
          can be further enhanced by the pursuit of other corroborative evidence.
          Sometimes, even after a thorough investigation, an eyewitness identifica-
          tion is the sole piece of evidence. It is in those cases in particular where
          careful use of this Guide may be most important.



          Purpose and Scope of the Project
          After reviewing the National Institute of Justice Research Report,
          Convicted by Juries, Exonerated by Science: Case Studies in the Use of
          DNA Evidence to Establish Innocence After Trial, Attorney General Janet
          Reno directed NIJ to address the pitfalls in those investigations that may
          have contributed to wrongful convictions. The most compelling evidence
          in the majority of those 28 cases was the eyewitness testimony presented
          at trial.

          NIJ initiated this study in May 1998 with the primary purpose of recom-
          mending best practices and procedures for the criminal justice commu-
          nity to employ in investigations involving eyewitnesses. Using its
          “Template for Technical Working Groups,” NIJ established the Technical
          Working Group for Eyewitness Evidence to identify, define, and as-
          semble a set of investigative tasks that should be performed in every
          investigation involving eyewitness evidence to best ensure the accuracy
          and reliability of this evidence. The initial members of this group were
          the Planning Panel, a multidisciplinary group of nine professionals
          brought together to identify the needs of the criminal justice system
          in the area of eyewitness evidence, define goals and objectives for
          TWGEYEE, and develop the initial strategy for achieving TWGEYEE’s
          mission.

          The Planning Panel agreed that eyewitness evidence, in general, can be
          improved and made more reliable through the application of currently
          accepted scientific principles and practices. It was acknowledged that
          research has shown that a witness’ memory of an event can be fragile



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        and that the amount and accuracy of information obtained from a witness
        depends in part on the method of questioning. Based on these precepts,
        the following goals and objectives for the study were identified:

        ◆ Increase the amount of information elicited from witnesses through
          improved interview techniques.

        ◆ Heighten the validity/accuracy of eyewitness evidence as police,
          prosecutors, and other criminal justice professionals work with
          witnesses to identify suspects.

        ◆ Improve the criminal justice system’s ability to evaluate the strength
          and accuracy of eyewitness evidence.

        Although the development of a guide for eyewitness evidence can be
        instructive in addressing issues surrounding this evidence, the Planning
        Panel recognized that local logistical and legal conditions may dictate the
        use of alternative procedures. Further, eyewitness identification proce-
        dures that do not employ the practices recommended in this Guide will
        not necessarily invalidate or detract from the evidence in a particular
        case.


        Project Design
        Technical Working Group process. The National Institute of Justice has
        developed a template for technical working groups that has been success-
        fully used in previous studies of this nature. The process begins with a
        request from the criminal justice community, generally through the
        Attorney General; NIJ researches the issue of concern and assembles a
        planning panel of content-area experts. This panel, together with NIJ,
        determines whether a Technical Working Group is needed to explore the
        issue further.

        Once the decision is made to form a Technical Working Group, the
        planning panel determines the group’s size and composition and drafts an
        agenda. NIJ supports the planning panel by requesting member nomina-
        tions from its multidisciplinary membership resource pool throughout the




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          national criminal justice community based on regional distribution and
          individual expertise and availability.

          Once members are identified, meetings are conducted by designated
          planning panel members. NIJ maintains a purely facilitative function.

          The Planning Panel for Eyewitness Evidence met for the first time in
          May 1998 in Washington, D.C. After two planning meetings (the second
          in Oak Brook, Illinois), the Technical Working Group for Eyewitness
          Evidence was formed and convened for the first time in October 1998 in
          Chicago. The 34 TWGEYEE members (including the 9 Planning Panel
          members) represent the law enforcement, prosecution, defense, and
          research communities from across the United States and Canada.




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                                                                         Northeast
                                               Law Enforcement           Southeast
                                               Prosecutors
                                                                         Rocky Mountain
                                               Defense Attorneys
                                               Researchers               West




        The regional distribution of the Technical Working Group members is:


            Region             Number of Participants              Percentage of Total
         Northeast                        14                               41
         Southeast                         9                               26
         Rocky Mountain                    5                               15
         West                              4                               12
         Canada                            2                                6


        The disciplinary distribution of the Technical Working Group members is:

                              Number of Participants               Percentage of Total
                                  (Full TWG/                          (Full TWG/
           Discipline           Planning Panel)                      Planning Panel
         Law Enforcement                17/3                             50/33.3
         Prosecutors                     6/2                             18/22.2
         Defense Lawyers                 4/1                             12/11.1
         Researchers                     7/3                             20/33.3




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          Development of the Guide. During the course of three full meetings—
          the second in Washington, D.C., in January 1999 and the third in San
          Francisco in May 1999—and four Planning Panel meetings during a
          1-year period, the Technical Working Group for Eyewitness Evidence
          members identified specific investigative tasks they felt represented
          the best practices currently available to investigators. These tasks were
          organized based on the categories of investigation defined by the Plan-
          ning Panel, and these categories were modified during the process where
          necessary. Once specific tasks were identified, they were incorporated
          into the following format:

          ◆ A statement of principle citing what is accomplished by performing
            the procedure.

          ◆ A statement of policy to the investigator regarding performance of
            the procedure.

          ◆ The procedure for performing the list of tasks.

          ◆ A summary statement explaining the justification for and importance
            of performing the procedure.

          National reviewer network. After the Technical Working Group com-
          pleted the initial draft of the Guide in March 1999, it was distributed to
          a broad audience throughout the criminal justice community for review.
          Comments from these organizations and individuals then were consid-
          ered by TWGEYEE at its May 1999 meeting to finalize and approve the
          Guide for publication.

          The 95 organizations and individuals whose comments were solicited
          during the national review of the Guide represented all levels of law
          enforcement from local officers to State superintendents to Federal
          agencies, regional and national organizations, individual attorneys and
          judges, and social science researchers from around the United States and
          Canada. The disciplinary distribution of these reviewers was as follows:
          43 law enforcement and corrections agencies and organizations; 20
          prosecutors, defense lawyers, and judges (individuals and organizations);
          19 national law enforcement and legislative policy organizations; and




                                                                      Exhibit B - 19
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        13 individual social science and legal researchers (a complete list of
        reviewers can be found in appendix B).



        Training Criteria
        NIJ is planning a second phase of this study to produce training criteria
        for each of the procedures included in this document. This research is
        expected to be completed and disseminated by the summer of 2000.
        TWGEYEE members and other training practitioners from around the
        Nation will define and verify minimum levels of performance for each
        procedure. The training criteria will be published and widely distributed
        to provide organizations and individuals with the materials needed to
        establish and maintain the knowledge and skills for performance of the
        procedures.



        Validation of the Guide
        Although the investigative tasks identified in this Guide represent the
        consensus of the TWGEYEE members on procedures for collection and
        preservation of eyewitness evidence, no attempt was made to conduct
        validation studies to state the significance or degree of improvement in
        eyewitness evidence these practices should be expected to yield. NIJ
        plans to develop a national validation strategy for the field testing and
        validation of each procedure. It should be noted that the existing Guide is
        subject to future modification or revision based on the outcome of these
        validation procedures.



        Future Considerations
        Advances in social science and technology will, over time, affect proce-
        dures used to gather and preserve eyewitness evidence. The following
        examples illustrate areas of potential change.




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          Scientific research indicates that identification procedures such as lineups
          and photo arrays produce more reliable evidence when the individual
          lineup members or photographs are shown to the witness sequentially—
          one at a time—rather than simultaneously. Although some police agen-
          cies currently use sequential methods of presentation, there is not a
          consensus on any particular method or methods of sequential presentation
          that can be recommended as a preferred procedure; although sequential
          procedures are included in the Guide, it does not indicate a preference for
          sequential procedures.

          Similarly, investigators’ unintentional cues (e.g., body language, tone
          of voice) may negatively impact the reliability of eyewitness evidence.
          Psychology researchers have noted that such influences could be avoided
          if “blind” identification procedures were employed (i.e., procedures
          conducted by investigators who do not know the identity of the actual
          suspect). However, blind procedures, which are used in science to
          prevent inadvertent contamination of research results, may be impractical
          for some jurisdictions to implement. Blind procedures are not included in
          the Guide but are identified as a direction for future exploration and field
          testing. In the interim, an enhanced awareness on the part of investigators
          of the subtle impact they may have on witnesses will result in more
          professional identification procedures.

          Technological advances such as computer-based imaging systems and the
          Internet will enable law enforcement to share images among departments
          and can facilitate the use of improved procedures. This Guide is not meant
          to inhibit the development and field testing of new technologies and
          procedures. On the contrary, it anticipates those developments and can
          provide a framework for innovation.




                                                                       Exhibit B - 21
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            Eyewitness Evidence: A Guide for Law Enforcement



                                              Initial Report of the Crime/First
                               Section I      Responder (Preliminary Investigator)


                               Section II     Mug Books and Composites

                                              Procedures for Interviewing the
                               Section III    Witness by the Followup Investigator

                                              Field Identification Procedure
                               Section IV     (Showup)

                                              Procedures for Eyewitness
                               Section V      Identification of Suspects




                                                           Exhibit B - 22
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          This handbook is intended as a guide to recommended practices
          for the collection and preservation of eyewitness evidence.
          Jurisdictional, logistical, or legal conditions may preclude the
          use of particular procedures contained herein.




                                                                    Exhibit B - 23
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          Section I. Initial Report of the Crime/First
          Responder (Preliminary Investigator)
          A.                Answering the 9–1–1/Emergency Call
                            (Call-Taker/Dispatcher)
          Principle:        As the initial point of contact for the witness, the
                            9–1–1/emergency call-taker or dispatcher must obtain
                                                                                         I
                            and disseminate, in a nonsuggestive manner, complete
                            and accurate information from the caller. This informa-
                            tion can include the description/identity of the perpetra-
                            tor of a crime. The actions of the call-taker/dispatcher
                            can affect the safety of those involved as well as the
                            entire investigation.

          Policy:           The call-taker/dispatcher shall answer each call in a
                            manner conducive to obtaining and disseminating
                            accurate information regarding the crime and the
                            description/identity of the perpetrator.

          Procedure:        During a 9–1–1/emergency call—after obtaining
                            preliminary information and dispatching police—
                            the call-taker/dispatcher should:

               1. Assure the caller the police are on the way.
               2. Ask open-ended questions (e.g., “What can you tell me about the
                  car?”); augment with closed-ended questions (e.g., “What color
                  was the car?”).
               3. Avoid asking suggestive or leading questions (e.g., “Was the car
                  red?”).
               4. Ask if anything else should be known about the incident.
               5. Transmit information to responding officer(s).
               6. Update officer(s) as more information comes in.



                                                                        Exhibit B - 24
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        A. Answering the 9–1–1/Emergency Call (Call-Taker/Dispatcher)
        Summary:             The information obtained from the witness is critical to
                             the safety of those involved and may be important to
                             the investigation. The manner in which facts are elicited
                             from a caller can influence the accuracy of the informa-
                             tion obtained.



        B.                   Investigating the Scene (Preliminary
                             Investigating Officer)
        Principle:           Preservation and documentation of the scene, including
                             information from witnesses and physical evidence, are
                             necessary for a thorough preliminary investigation. The
                             methods used by the preliminary investigating officer
                             have a direct impact on the amount and accuracy of the
                             information obtained throughout the investigation.

        Policy:              The preliminary investigating officer shall obtain,
                             preserve, and use the maximum amount of accurate
                             information from the scene.

        Procedure:           After securing the scene and attending to any victims
                             and injured persons, the preliminary investigating officer
                             should:

             1. Identify the perpetrator(s).
                 a. Determine the location of the perpetrator(s).
                 b. Detain or arrest the perpetrator(s) if still present at the scene.
             2. Determine/classify what crime or incident has occurred.
             3. Broadcast an updated description of the incident, perpetrator(s),
                and/or vehicle(s).
             4. Verify the identity of the witness(es).




                                                                            Exhibit B - 25
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               5. Separate witnesses and instruct them to avoid discussing details of
                  the incident with other witnesses.
               6. Canvass the area for other witnesses.
          Summary:          The preliminary investigation at the scene forms a sound
                            basis for the accurate collection of information and
                            evidence during the followup investigation.



          C.                Obtaining Information From the
                            Witness(es)
          Principle:        The manner in which the preliminary investigating
                            officer obtains information from a witness has a direct
                            impact on the amount and accuracy of that information.

          Policy:           The preliminary investigating officer shall obtain and
                            accurately document and preserve information from the
                            witness(es).

          Procedure:        When interviewing a witness, the preliminary investigat-
                            ing officer should:

               1. Establish rapport with the witness.
               2. Inquire about the witness’ condition.
               3. Use open-ended questions (e.g., “What can you tell me about the
                  car?”); augment with closed-ended questions (e.g., “What color
                  was the car?”). Avoid leading questions (e.g., “Was the car red?”).
               4. Clarify the information received with the witness.
               5. Document information obtained from the witness, including the
                  witness’ identity, in a written report.
               6. Encourage the witness to contact investigators with any further
                  information.




                                                                       Exhibit B - 26
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        C. Obtaining Information From the Witness(es)
           7. Encourage the witness to avoid contact with the media or exposure
              to media accounts concerning the incident.
           8. Instruct the witness to avoid discussing details of the incident with
              other potential witnesses.
        Summary:            Information obtained from the witness can corroborate
                            other evidence (e.g., physical evidence, accounts pro-
                            vided by other witnesses) in the investigation. Therefore,
                            it is important that this information be accurately docu-
                            mented in writing.




                                                                           Exhibit B - 27
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          Section II. Mug Books and Composites

          A.                Preparing Mug Books
          Note:             “Mug books” (i.e., collections of photos of previously
                            arrested persons) may be used in cases in which a
                            suspect has not yet been determined and other reliable
                            sources have been exhausted. This technique may
                            provide investigative leads, but results should be evalu-
                            ated with caution.

          Principle:        Nonsuggestive composition of a mug book may enable
                                                                                          II
                            the witness to provide a lead in a case in which no
                            suspect has been determined and other reliable sources
                            have been exhausted.

          Policy:           The investigator/mug book preparer shall compose the
                            mug book in such a manner that individual photos are
                            not suggestive.

          Procedure:        In selecting photos to be preserved in a mug book, the
                            preparer should:

               1. Group photos by format (e.g., color or black and white; Polaroid,
                  35mm, or digital; video) to ensure that no photo unduly stands out.
               2. Select photos of individuals that are uniform with regard to
                  general physical characteristics (e.g., race, age, sex).
               3. Consider grouping photos by specific crime (e.g., sexual assault,
                  gang activity).
               4. Ensure that positive identifying information exists for all individu-
                  als portrayed.
               5. Ensure that photos are reasonably contemporary.
               6. Ensure that only one photo of each individual is in the mug book.



                                                                        Exhibit B - 28
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        A. Preparing Mug Books
        Summary:           Mug books must be objectively compiled to yield
                           investigative leads that will be admissible in court.



        B.                 Developing and Using Composite
                           Images
        Note:              Composite images can be beneficial investigative tools;
                           however, they should not be used as stand-alone
                           evidence and may not rise to the level of probable cause.

        Principle:         Composites provide a depiction that may be used to
                           develop investigative leads.

        Policy:            The person preparing the composite shall select and
                           employ the composite technique in such a manner that
                           the witness’ description is reasonably depicted.

        Procedure:         The person preparing the composite should:

             1. Assess the ability of the witness to provide a description of the
                perpetrator.
             2. Select the procedure to be used from those available (e.g.,
                identikit-type, artist, or computer-generated images).
             3. Unless part of the procedure, avoid showing the witness any
                photos immediately prior to development of the composite.
             4. Select an environment for conducting the procedure that mini-
                mizes distractions.
             5. Conduct the procedure with each witness separately.
             6. Determine with the witness whether the composite is a reasonable
                representation of the perpetrator.




                                                                          Exhibit B - 29
e 1:19-cr-02032-SMJ       ECF No. 185-2         filed 08/21/20      PageID.1112 Page 30 o

          Summary:          The use of composite images can yield investigative
                            leads in cases in which no suspect has been determined.
                            Use of these procedures can facilitate obtaining from the
                            witness a description that will enable the development of
                            a reasonable likeness of the perpetrator.



          C.                Instructing the Witness
          Principle:        Instructions to the witness prior to conducting the
                            procedure can facilitate the witness’ recollection of the
                            perpetrator.

          Policy:           The investigator/person conducting the procedure shall
                            provide instructions to the witness prior to conducting
                            the procedure.

          Procedure:

          Mug Book:         The investigator/person conducting the procedure
                            should:

               1. Instruct each witness without other persons present.
               2. Describe the mug book to the witness only as a “collection of
                  photographs.”
               3. Instruct the witness that the person who committed the crime may
                  or may not be present in the mug book.
               4. Consider suggesting to the witness to think back to the event and
                  his/her frame of mind at the time.
               5. Instruct the witness to select a photograph if he/she can and to
                  state how he/she knows the person if he/she can.
               6. Assure the witness that regardless of whether he/she makes an
                  identification, the police will continue to investigate the case.
               7. Instruct the witness that the procedure requires the investigator to
                  ask the witness to state, in his/her own words, how certain he/she
                  is of any identification.


                                                                         Exhibit B - 30
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        C. Instructing the Witness
        Composite:           The investigator/person conducting the procedure should:

             1. Instruct each witness without other persons present.
             2. Explain the type of composite technique to be used.
             3. Explain to the witness how the composite will be used in the
                investigation.
             4. Instruct the witness to think back to the event and his/her frame of
                mind at the time.
        Summary:             Providing instructions to the witness can improve his/her
                             comfort level and can result in information that may assist
                             the investigation.



        D.                   Documenting the Procedure
        Principle:           Documentation of the procedure provides an accurate
                             record of the results obtained from the witness.

        Policy:              The person conducting the procedure shall preserve the
                             outcome of the procedure by accurately documenting the
                             type of procedure(s) employed and the results.

        Procedure:           The person conducting the procedure should:

             1. Document the procedure employed (e.g., identikit-type, mug book,
                artist, or computer-generated image) in writing.
             2. Document the results of the procedure in writing, including
                the witness’ own words regarding how certain he/she is of any
                identification.
             3. Document items used and preserve composites generated.
        Summary:             Documentation of the procedure and its outcome improves
                             the strength and credibility of the results obtained from the
                             witness and can be an important factor in the investigation
                             and any subsequent court proceedings.

                                                                            Exhibit B - 31
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          Section III. Procedures for Interviewing the Witness
          by the Followup Investigator
          A.                Preinterview Preparations and
                            Decisions
          Principle:        Preparing for an interview maximizes the effectiveness
                            of witness participation and interviewer efficiency.

          Policy:           The investigator shall review all available witness and
                            case information and arrange an efficient and effective
                            interview.

          Procedure:        Prior to conducting the interview, the investigator
                            should:

               1. Review available information.
                                                                                         III
               2. Plan to conduct the interview as soon as the witness is physically
                  and emotionally capable.
               3. Select an environment that minimizes distractions while maintain-
                  ing the comfort level of the witness.
               4. Ensure resources are available (e.g., notepad, tape recorder,
                  camcorder, interview room).
               5. Separate the witnesses.
               6. Determine the nature of the witness’ prior law enforcement
                  contact.
          Summary:          Performing the above preinterview preparations will
                            enable the investigator to elicit a greater amount of
                            accurate information during the interview, which may
                            be critical to the investigation.




                                                                        Exhibit B - 32
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        B.                Initial (Preinterview) Contact With
                          the Witness
        Principle:        A comfortable witness provides more information.

        Policy:           Investigators shall conduct themselves in a manner
                          conducive to eliciting the most information from the
                          witness.

        Procedure:        On meeting with the witness but prior to beginning the
                          interview, the investigator should:

             1. Develop rapport with the witness.
             2. Inquire about the nature of the witness’ prior law enforcement
                contact related to the incident.
             3. Volunteer no specific information about the suspect or case.
        Summary:          Establishing a cooperative relationship with the witness
                          likely will result in an interview that yields a greater
                          amount of accurate information.



        C.                Conducting the Interview
        Principle:        Interview techniques can facilitate witness memory and
                          encourage communication both during and following the
                          interview.

        Policy:           The investigator shall conduct a complete, efficient, and
                          effective interview of the witness and encourage
                          postinterview communication.

        Procedure:        During the interview, the investigator should:

             1. Encourage the witness to volunteer information without prompting.
             2. Encourage the witness to report all details, even if they seem
                trivial.


                                                                           Exhibit B - 33
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               3. Ask open-ended questions (e.g., “What can you tell me about the
                  car?”); augment with closed-ended, specific questions (e.g., “What
                  color was the car?”).
               4. Avoid leading questions (e.g., “Was the car red?”).
               5. Caution the witness not to guess.
               6. Ask the witness to mentally recreate the circumstances of the
                  event (e.g., “Think about your feelings at the time”).
               7. Encourage nonverbal communication (e.g., drawings, gestures,
                  objects).
               8. Avoid interrupting the witness.
               9. Encourage the witness to contact investigators when additional
                  information is recalled.
               10. Instruct the witness to avoid discussing details of the incident with
                   other potential witnesses.
               11. Encourage the witness to avoid contact with the media or exposure
                   to media accounts concerning the incident.
               12. Thank the witness for his/her cooperation.
          Summary:           Information elicited from the witness during the inter-
                             view may provide investigative leads and other essential
                             facts. The above interview procedures will enable the
                             witness to provide the most accurate, complete descrip-
                             tion of the event and encourage the witness to report
                             later recollections. Witnesses commonly recall additional
                             information after the interview that may be critical to the
                             investigation.



          D.                 Recording Witness Recollections
          Principle:         The record of the witness’ statements accurately and
                             completely reflects all information obtained and pre-
                             serves the integrity of this evidence.




                                                                         Exhibit B - 34
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        D. Recording Witness Recollections
        Policy:             The investigator shall provide complete and accurate
                            documentation of all information obtained from the
                            witness.

        Procedure:          During or as soon as reasonably possible after the
                            interview, the investigator should:

             1. Document the witness’ statements (e.g., audio or video recording,
                stenographer’s documentation, witness’ written statement, written
                summary using witness’ own words).
             2. Review written documentation; ask the witness if there is anything
                he/she wishes to change, add, or emphasize.
        Summary:            Complete and accurate documentation of the witness’
                            statement is essential to the integrity and success of the
                            investigation and any subsequent court proceedings.



        E.                  Assessing the Accuracy of Individual
                            Elements of a Witness‘ Statement
        Principle:          Point-by-point consideration of a statement may enable
                            judgment on which components of the statement are
                            most accurate. This is necessary because each piece of
                            information recalled by the witness may be remembered
                            independently of other elements.

        Policy:             The investigator shall review the individual elements of
                            the witness’ statement to determine the accuracy of each
                            point.

        Procedure:          After conducting the interview, the investigator should:

             1. Consider each individual component of the witness’ statement
                separately.



                                                                           Exhibit B - 35
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               2. Review each element of the witness’ statement in the context
                  of the entire statement. Look for inconsistencies within the
                  statement.
               3. Review each element of the statement in the context of evidence
                  known to the investigator from other sources (e.g., other witnesses’
                  statements, physical evidence).
          Summary:          Point-by-point consideration of the accuracy of each
                            element of a witness’ statement can assist in focusing the
                            investigation. This technique avoids the common mis-
                            conception that the accuracy of an individual element of
                            a witness’ description predicts the accuracy of another
                            element.



          F.                Maintaining Contact With the Witness
          Principle:        The witness may remember and provide additional
                            information after the interview has concluded.

          Policy:           The investigator shall maintain open communication to
                            allow the witness to provide additional information.

          Procedure:        During postinterview, followup contact with the witness,
                            the investigator should:

               1. Reestablish rapport with the witness.
               2. Ask the witness if he/she has recalled any additional information.
               3. Follow interviewing and documentation procedures in subsections
                  C, “Conducting the Interview,” and D, “Recording Witness
                  Recollections.”
               4. Provide no information from other sources.
          Summary:          Reestablishing contact and rapport with the witness often
                            leads to recovery of additional information. Maintaining
                            open communication channels with the witness through-
                            out the investigation is critical.



                                                                        Exhibit B - 36
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          Section IV. Field Identification Procedure (Showup)

          A.                Conducting Showups
          Principle:        When circumstances require the prompt display of a
                            single suspect to a witness, the inherent suggestiveness
                            of the encounter can be minimized through the use of
                            procedural safeguards.

          Policy:           The investigator shall employ procedures that avoid
                            prejudicing the witness.

          Procedure:        When conducting a showup, the investigator should:

               1. Determine and document, prior to the showup, a description of the
                  perpetrator.
               2. Consider transporting the witness to the location of the detained
                  suspect to limit the legal impact of the suspect’s detention.
               3. When multiple witnesses are involved:
                   a. Separate witnesses and instruct them to avoid discussing
                                                                                         IV
                      details of the incident with other witnesses.
                   b. If a positive identification is obtained from one witness,
                      consider using other identification procedures (e.g.,
                      lineup, photo array) for remaining witnesses.
               4. Caution the witness that the person he/she is looking at may or
                  may not be the perpetrator.
               5. Obtain and document a statement of certainty for both identifica-
                  tions and nonidentifications.
          Summary:          The use of a showup can provide investigative informa-
                            tion at an early stage, but the inherent suggestiveness of
                            a showup requires careful use of procedural safeguards.




                                                                        Exhibit B - 37
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        B.                Recording Showup Results
        Principle:        The record of the outcome of the field identification
                          procedure accurately and completely reflects the identifi-
                          cation results obtained from the witness.

        Policy:           When conducting a showup, the investigator shall
                          preserve the outcome of the procedure by documenting
                          any identification or nonidentification results obtained
                          from the witness.

        Procedure:        When conducting a showup, the investigator should:

             1. Document the time and location of the procedure.
             2. Record both identification and nonidentification results in writing,
                including the witness’ own words regarding how certain he/she is.
        Summary:          Preparing a complete and accurate record of the outcome
                          of the showup improves the strength and credibility of
                          the identification or nonidentification results obtained
                          from the witness and can be a critical document in the
                          investigation and any subsequent court proceedings.




                                                                        Exhibit B - 38
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          Section V. Procedures for Eyewitness Identification
          of Suspects
          A.                 Composing Lineups
          Principle:         Fair composition of a lineup enables the witness to
                             provide a more accurate identification or
                             nonidentification.

          Policy:            The investigator shall compose the lineup in such a
                             manner that the suspect does not unduly stand out.

          Procedure:

          Photo Lineup: In composing a photo lineup, the investigator should:

               1. Include only one suspect in each identification procedure.
               2. Select fillers who generally fit the witness’ description of the
                  perpetrator. When there is a limited/inadequate description of the
                  perpetrator provided by the witness, or when the description of the
                  perpetrator differs significantly from the appearance of the sus-
                  pect, fillers should resemble the suspect in significant features.
               3. If multiple photos of the suspect are reasonably available to the
                  investigator, select a photo that resembles the suspect description
                  or appearance at the time of the incident.
                                                                                          V
               4. Include a minimum of five fillers (nonsuspects) per identification
                  procedure.
               5. Consider that complete uniformity of features is not required.
                  Avoid using fillers who so closely resemble the suspect that a
                  person familiar with the suspect might find it difficult to distin-
                  guish the suspect from the fillers.
               6. Create a consistent appearance between the suspect and fillers
                  with respect to any unique or unusual feature (e.g., scars, tattoos)




                                                                         Exhibit B - 39
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        A. Composing Lineups
               used to describe the perpetrator by artificially adding or conceal-
               ing that feature.
           7. Consider placing suspects in different positions in each lineup,
              both across cases and with multiple witnesses in the same case.
              Position the suspect randomly in the lineup.
           8. When showing a new suspect, avoid reusing fillers in lineups
              shown to the same witness.
           9. Ensure that no writings or information concerning previous
              arrest(s) will be visible to the witness.
           10. View the spread, once completed, to ensure that the suspect does
               not unduly stand out.
           11. Preserve the presentation order of the photo lineup. In addition,
               the photos themselves should be preserved in their original
               condition.
        Live Lineup:       In composing a live lineup, the investigator should:

           1. Include only one suspect in each identification procedure.
           2. Select fillers who generally fit the witness’ description of the
              perpetrator. When there is a limited/inadequate description of the
              perpetrator provided by the witness, or when the description of the
              perpetrator differs significantly from the appearance of the sus-
              pect, fillers should resemble the suspect in significant features.
           3. Consider placing suspects in different positions in each lineup,
              both across cases and with multiple witnesses in the same case.
              Position the suspect randomly unless, where local practice allows,
              the suspect or the suspect’s attorney requests a particular position.
           4. Include a minimum of four fillers (nonsuspects) per identification
              procedure.
           5. When showing a new suspect, avoid reusing fillers in lineups
              shown to the same witness.




                                                                        Exhibit B - 40
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               6. Consider that complete uniformity of features is not required.
                  Avoid using fillers who so closely resemble the suspect that a
                  person familiar with the suspect might find it difficult to distin-
                  guish the suspect from the fillers.
               7. Create a consistent appearance between the suspect and fillers
                  with respect to any unique or unusual feature (e.g., scars, tattoos)
                  used to describe the perpetrator by artificially adding or conceal-
                  ing that feature.
          Summary:           The above procedures will result in a photo or live lineup
                             in which the suspect does not unduly stand out. An
                             identification obtained through a lineup composed in this
                             manner may have stronger evidentiary value than one
                             obtained without these procedures.



          B.                 Instructing the Witness Prior to
                             Viewing a Lineup
          Principle:         Instructions given to the witness prior to viewing a
                             lineup can facilitate an identification or nonidentification
                             based on his/her own memory.

          Policy:            Prior to presenting a lineup, the investigator shall
                             provide instructions to the witness to ensure the witness
                             understands that the purpose of the identification proce-
                             dure is to exculpate the innocent as well as to identify
                             the actual perpetrator.

          Procedure:

          Photo Lineup: Prior to presenting a photo lineup, the investigator should:

               1. Instruct the witness that he/she will be asked to view a set of
                  photographs.




                                                                          Exhibit B - 41
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        B. Instructing the Witness Prior to Viewing a Lineup
           2. Instruct the witness that it is just as important to clear innocent
              persons from suspicion as to identify guilty parties.
           3. Instruct the witness that individuals depicted in lineup photos may
              not appear exactly as they did on the date of the incident because
              features such as head and facial hair are subject to change.
           4. Instruct the witness that the person who committed the crime may
              or may not be in the set of photographs being presented.
           5. Assure the witness that regardless of whether an identification is
              made, the police will continue to investigate the incident.
           6. Instruct the witness that the procedure requires the investigator to
              ask the witness to state, in his/her own words, how certain he/she
              is of any identification.
        Live Lineup:         Prior to presenting a live lineup, the investigator should:

           1. Instruct the witness that he/she will be asked to view a group of
              individuals.
           2. Instruct the witness that it is just as important to clear innocent
              persons from suspicion as to identify guilty parties.
           3. Instruct the witness that individuals present in the lineup may not
              appear exactly as they did on the date of the incident because
              features such as head and facial hair are subject to change.
           4. Instruct the witness that the person who committed the crime may
              or may not be present in the group of individuals.
           5. Assure the witness that regardless of whether an identification is
              made, the police will continue to investigate the incident.
           6. Instruct the witness that the procedure requires the investigator to
              ask the witness to state, in his/her own words, how certain he/she
              is of any identification.




                                                                             Exhibit B - 42
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          Summary:          Instructions provided to the witness prior to presentation
                            of a lineup will likely improve the accuracy and reliability
                            of any identification obtained from the witness and can
                            facilitate the elimination of innocent parties from the
                            investigation.



          C.                Conducting the Identification
                            Procedure
          Principle:        The identification procedure should be conducted in a
                            manner that promotes the reliability, fairness, and objec-
                            tivity of the witness’ identification.

          Policy:           The investigator shall conduct the lineup in a manner
                            conducive to obtaining accurate identification or
                            nonidentification decisions.

          Procedure:

          Simultaneous
          Photo Lineup: When presenting a simultaneous photo lineup, the
                        investigator should:

               1. Provide viewing instructions to the witness as outlined in subsec-
                  tion B, “Instructing the Witness Prior to Viewing a Lineup.”
               2. Confirm that the witness understands the nature of the lineup
                  procedure.
               3. Avoid saying anything to the witness that may influence the wit-
                  ness’ selection.
               4. If an identification is made, avoid reporting to the witness any
                  information regarding the individual he/she has selected prior to
                  obtaining the witness’ statement of certainty.
               5. Record any identification results and witness’ statement of certainty
                  as outlined in subsection D, “Recording Identification Results.”



                                                                        Exhibit B - 43
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        C. Conducting the Identification Procedure
           6. Document in writing the photo lineup procedures, including:
                a. Identification information and sources of all photos used.
                b. Names of all persons present at the photo lineup.
                c. Date and time of the identification procedure.
           7. Instruct the witness not to discuss the identification procedure or
              its results with other witnesses involved in the case and discourage
              contact with the media.
        Sequential
        Photo Lineup: When presenting a sequential photo lineup, the
                      investigator should:

           1. Provide viewing instructions to the witness as outlined in subsec-
              tion B, “Instructing the Witness Prior to Viewing a Lineup.”
           2. Provide the following additional viewing instructions to the
              witness:
                a.    Individual photographs will be viewed one at a time.
                b. The photos are in random order.
                c. Take as much time as needed in making a decision about each
                   photo before moving to the next one.
                d. All photos will be shown, even if an identification is made; or
                   the procedure will be stopped at the point of an identification
                   (consistent with jurisdictional/departmental procedures).
           3. Confirm that the witness understands the nature of the sequential
              procedure.
           4. Present each photo to the witness separately, in a previously
              determined order, removing those previously shown.
           5. Avoid saying anything to the witness that may influence the
              witness’ selection.




                                                                        Exhibit B - 44
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            6. If an identification is made, avoid reporting to the witness any
               information regarding the individual he/she has selected prior to
               obtaining the witness’ statement of certainty.
            7. Record any identification results and witness’ statement of cer-
               tainty as outlined in subsection D, “Recording Identification
               Results.”
            8. Document in writing the photo lineup procedures, including:
                a. Identification information and sources of all photos used.
                b.   Names of all persons present at the photo lineup.
                c. Date and time of the identification procedure.
            9. Instruct the witness not to discuss the identification procedure or
               its results with other witnesses involved in the case and discourage
               contact with the media.
          Simultaneous
          Live Lineup: When presenting a simultaneous live lineup, the investi-
                       gator/lineup administrator should:

            1. Provide viewing instructions to the witness as outlined in subsec-
               tion B, “Instructing the Witness Prior to Viewing a Lineup.”
            2. Instruct all those present at the lineup not to suggest in any way
               the position or identity of the suspect in the lineup.
            3. Ensure that any identification actions (e.g., speaking, moving) are
               performed by all members of the lineup.
            4. Avoid saying anything to the witness that may influence the
               witness’ selection.
            5. If an identification is made, avoid reporting to the witness any
               information regarding the individual he/she has selected prior to
               obtaining the witness’ statement of certainty.




                                                                     Exhibit B - 45
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        C. Conducting the Identification Procedure
           6. Record any identification results and witness’ statement of cer-
              tainty as outlined in subsection D, “Recording Identification
              Results.”
           7. Document the lineup in writing, including:
                a. Identification information of lineup participants.
                b.    Names of all persons present at the lineup.
                c. Date and time the identification procedure was conducted.
           8. Document the lineup by photo or video. This documentation
              should be of a quality that represents the lineup clearly and fairly.
           9. Instruct the witness not to discuss the identification procedure or
              its results with other witnesses involved in the case and discourage
              contact with the media.
        Sequential
        Live Lineup:        When presenting a sequential live lineup, the lineup
                            administrator/investigator should:

           1. Provide viewing instructions to the witness as outlined in subsec-
              tion B, “Instructing the Witness Prior to Viewing a Lineup.”
           2. Provide the following additional viewing instructions to the
              witness:
                a.    Individuals will be viewed one at a time.
                b. The individuals will be presented in random order.
                c. Take as much time as needed in making a decision about each
                   individual before moving to the next one.
                d. If the person who committed the crime is present, identify
                   him/her.




                                                                         Exhibit B - 46
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                 e. All individuals will be presented, even if an identification is
                    made; or the procedure will be stopped at the point of an
                    identification (consistent with jurisdictional/departmental
                    procedures).
            3. Begin with all lineup participants out of the view of the witness.
            4. Instruct all those present at the lineup not to suggest in any way
               the position or identity of the suspect in the lineup.
            5. Present each individual to the witness separately, in a previously
               determined order, removing those previously shown.
            6. Ensure that any identification actions (e.g., speaking, moving) are
               performed by all members of the lineup.
            7. Avoid saying anything to the witness that may influence the
               witness’ selection.
            8. If an identification is made, avoid reporting to the witness any
               information regarding the individual he/she has selected prior to
               obtaining the witness’ statement of certainty.
            9. Record any identification results and witness’ statement of cer-
               tainty as outlined in subsection D, “Recording Identification
               Results.”
            10. Document the lineup procedures and content in writing, including:
                a. Identification information of lineup participants.
                b.   Names of all persons present at the lineup.
                c. Date and time the identification procedure was conducted.
            11. Document the lineup by photo or video. This documentation
                should be of a quality that represents the lineup clearly and fairly.
                Photo documentation can be of either the group or each individual.
            12. Instruct the witness not to discuss the identification procedure or
                its results with other witnesses involved in the case and discourage
                contact with the media.




                                                                     Exhibit B - 47
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        C. Conducting the Identification Procedure
        Summary:            The manner in which an identification procedure is
                            conducted can affect the reliability, fairness, and objec-
                            tivity of the identification. Use of the above procedures
                            can minimize the effect of external influences on a
                            witness’ memory.



        D.                  Recording Identification Results
        Principle:          The record of the outcome of the identification proce-
                            dure accurately and completely reflects the identification
                            results obtained from the witness.

        Policy:             When conducting an identification procedure, the
                            investigator shall preserve the outcome of the procedure
                            by documenting any identification or nonidentification
                            results obtained from the witness.

        Procedure:          When conducting an identification procedure, the
                            investigator should:

             1. Record both identification and nonidentification results in writing,
                including the witness’ own words regarding how sure he/she is.
             2. Ensure results are signed and dated by the witness.
             3. Ensure that no materials indicating previous identification results
                are visible to the witness.
             4. Ensure that the witness does not write on or mark any materials
                that will be used in other identification procedures.
        Summary:            Preparing a complete and accurate record of the outcome
                            of the identification procedure improves the strength
                            and credibility of the identification or nonidentification
                            results obtained from the witness. This record can be a
                            critical document in the investigation and any subsequent
                            court proceedings.



                                                                           Exhibit B - 48
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            Appendixes



                              Appendix A       Further Reading


                              Appendix B       Reviewer List




                                                          Exhibit B - 49
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            Appendix A. Further Reading
          Connors, E., T. Lundregan, N. Miller, and T. McEwen. Convicted by
          Juries, Exonerated by Science: Case Studies in the Use of DNA Evidence
          to Establish Innocence After Trial. Washington, DC: U.S. Department of
          Justice, National Institute of Justice, 1996, NCJ 161258.

          Cutler, B.L., and S.D. Penrod. Mistaken Identification: The Eyewitness,
          Psychology, and the Law. New York: Cambridge University Press, 1995.

          Fisher, R.P., and R.E. Geiselman. Memory Enhancing Techniques for
          Investigative Interviewing. Springfield, IL: Charles Thomas, 1992.

          Fisher, R.P., and M.L. McCauley. “Information Retrieval: Interviewing
          Witnesses.” In Psychology and Policing, ed. N. Brewer and C. Wilson.
          Hillsdale, NJ: Erlbaum, 1995: 81–99.

          Fisher, R.P., R.E. Geiselman, and D.S. Raymond. “Critical Analysis of
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          Geiselman, R.E., and R.P. Fisher. “Ten Years of Cognitive Interviewing.”
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          F. Conrad. Mahwah, NJ: Erlbaum, 1997: 291–310.

          Lindsay, R.C.L., and G.L. Wells. “Improving Eyewitness Identification
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          Journal of Applied Psychology 70 (1985): 556–564.

          Loftus, E.F., and J. Doyle. Eyewitness Testimony: Civil and Criminal, 3d
          ed. Charlottesville, VA: Lexis Law Publishing, 1997.

          Wells, G.L., M.R. Leippe, and T.M. Ostrom. “Guidelines for Empirically
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          285–293.




                                                                    Exhibit B - 50
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        Wells, G.L., S.M. Rydell, and E.P. Seelau. “On the Selection of
        Distractors for Eyewitness Lineups.” Journal of Applied Psychology 78
        (1993): 835–844.

        Wells, G.L., E.P. Seelau, S.M. Rydell, and C.A.E. Luus. “Recommenda-
        tions for Properly Conducted Lineup Identification Tasks.” In Adult
        Eyewitness Testimony: Current Trends and Developments, ed. D.F. Ross,
        J.D. Read, and M.P. Toglia. New York: Cambridge University Press,
        1994: 223–244.

        Wells, G.L., M. Small, S.D. Penrod, R.S. Malpass, S.M. Fulero, and
        C.A.E. Brimacombe. “Eyewitness Identification Procedures: Recommen-
        dations for Lineups and Photospreads.” Law and Human Behavior 22
        (1998): 603.




                                                                    Exhibit B - 51
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            Appendix B. Reviewer List
          During the review process, drafts of this document were sent to the
          following agencies and organizations for comment. Although the Techni-
          cal Working Group considered all comments and issues raised by these
          organizations, this Guide reflects only the positions of its authors.
          Mention of the reviewers is not intended to imply their endorsement.

          The Academy Group, Inc.                          Home Office, Policing and Reducing
          American Bar Association                           Crime Unit (UK)

          American Correctional Association                International Association of Chiefs
                                                               of Police
          American Jail Association
                                                           International Association for Identification
          American Society of Law
            Enforcement Trainers                           International City/County Managers
                                                               Association
          American Prosecutors Research Institute
                                                           International Homicide Investigators
          Association of Federal Defense Attorneys
                                                              Association
          Bureau of Alcohol, Tobacco and Firearms
                                                           Law Enforcement Training Institute,
          Campaign for Effective Crime Policy                University of Missouri - Columbia
          Commission on Accreditation for Law              Madison County (New York)
            Enforcement Agencies, Inc.                       Sheriff’s Department
          Conference of State Court Administrators         Metro Nashville Police Academy
          Cleveland State College Basic                    National Association of Attorneys General
             Police Academy
                                                           National Association of Black Women
          Council of State Governments                        Attorneys
          Criminal Justice Institute                       National Association of Counties
          Drug Enforcement Administration                  National Association of Criminal Defense
          Executive Office for United States Attorneys        Lawyers

          Fairfax County (Virginia) Police                 National Association of Drug Court
             Association                                      Professionals

          Federal Bureau of Investigation                  National Association of Police
                                                              Organizations
          Federal Law Enforcement Training Center,
             Department of the Treasury                    National Association of Sentencing
                                                              Commissions




                                                                                     Exhibit B - 52
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        National Association of State Alcohol and   National Organization of Black Law
           Drug Abuse Directors                        Enforcement Executives
        National Association of Women Judges        National Organization for Victim
        National Black Police Association              Assistance

        National Center for State Courts            National Sheriffs’ Association

        National Conference of State Legislators    National Victim Center

        National Council on Crime and               New York State Police
           Delinquency                              Oneida County (New York)
        National Crime Prevention Council             Sheriff’s Office

        National Criminal Justice Association       Oneida Indian Nation Police

        National District Attorneys Association     Peace Officers Standards & Training

        National Governors Association              Police Executive Research Forum

        National Institute of Standards             Police Foundation
           and Technology, Office of Law            Royal Canadian Mounted Police
           Enforcement Standards                    Tennessee Law Enforcement
        National Law Enforcement and                   Training Academy
           Corrections Technology Centers           United States Conference of Mayors
        National Law Enforcement Council            United States Secret Service
        National League of Cities                   Utah State Crime Scene Academy
        National Legal Aid & Defender
           Association




                                                                                   Exhibit B - 53
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            For more information on the National Institute of Justice,
                                please contact:

                      National Criminal Justice Reference Service
                                         Box 6000
                                Rockville, MD 20849–6000
                                     800–851–3420
                                e-mail: askncjrs@ncjrs.org

                         To access the World Wide Web site, go to
                                   http://www.ncjrs.org

                      If you have any questions, call or e-mail NCJRS.




                                                                         Exhibit B - 54
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               About the National Institute of Justice
         The National Institute of Justice (NIJ), a component of the Office of Justice Programs, is the research
         agency of the U.S. Department of Justice. Created by the Omnibus Crime Control and Safe Streets Act
         of 1968, as amended, NIJ is authorized to support research, evaluation, and demonstration programs,
         development of technology, and both national and international information dissemination. Specific
         mandates of the Act direct NIJ to:
         ◆     Sponsor special projects, and research and development programs, that will improve and strengthen
               the criminal justice system and reduce or prevent crime.
         ◆ Conduct national demonstration projects that employ innovative or promising approaches for
               improving criminal justice.
         ◆ Develop new technologies to fight crime and improve criminal justice.
         ◆ Evaluate the effectiveness of criminal justice programs and identify programs that promise to be
               successful if continued or repeated.
         ◆ Recommend actions that can be taken by Federal, State, and local governments as well as by private
               organizations to improve criminal justice.
         ◆ Carry out research on criminal behavior.
         ◆ Develop new methods of crime prevention and reduction of crime and delinquency.
         In recent years, NIJ has greatly expanded its initiatives, the result of the Violent Crime Control and Law
         Enforcement Act of 1994 (the Crime Act), partnerships with other Federal agencies and private
         foundations, advances in technology, and a new international focus. Some examples of these new
         initiatives:
         ◆    New research and evaluation is exploring key issues in community policing, violence against
              women, sentencing reforms, and specialized courts such as drug courts.
         ◆ Dual-use technologies are being developed to support national defense and local law enforcement
              needs.
         ◆ Four regional National Law Enforcement and Corrections Technology Centers and a Border
              Research and Technology Center have joined the National Center in Rockville, Maryland.
         ◆ The causes, treatment, and prevention of violence against women and violence within the family are
              being investigated in cooperation with several agencies of the U.S. Department of Health and
              Human Services.
         ◆ NIJ's links with the international community are being strengthened through membership in the
              United Nations network of criminological institutes; participation in developing the U.N. Criminal
              Justice Information Network; initiation of UNOJUST (U.N. Online Justice Clearinghouse), which
              electronically links the institutes to the U.N. network; and establishment of an NIJ International
              Center.
         ◆ The NIJ-administered criminal justice information clearinghouse, the world’s largest, has improved
              its online capability.
         ◆ The Institute’s Drug Use Forecasting (DUF) program has been expanded and enhanced. Renamed
              ADAM (Arrestee Drug Abuse Monitoring), the program will increase the number of drug-testing
              sites, and its role as a “platform” for studying drug-related crime will grow.
         ◆ NIJ’s new Crime Mapping Research Center will provide training in computer mapping technology,
              collect and archive geocoded crime data, and develop analytic software.
         ◆ The Institute’s program of intramural research has been expanded and enhanced.
         The Institute Director, who is appointed by the President and confirmed by the Senate, establishes the
         Institute's objectives, guided by the priorities of the Office of Justice Programs, the Department of
         Justice, and the needs of the criminal justice field. The Institute actively solicits the views of criminal
         justice professionals and researchers in the continuing search for answers that inform public
         policymaking in crime and justice.
                            For information on the National Institute of Justice, please contact:
                                      National Criminal Justice Reference Service
                                                        Box 6000
                                               Rockville, MD 20849–6000
                                                    800–851–3420
                                               e-mail: askncjrs@ncjrs.org
                          You can view or obtain an electronic version of this document from the
                                NCJRS Justice Information Center World Wide Web site.
                                     To access this site, go to http://www.ncjrs.org
                                       If you have questions, call or e-mail NCJRS.

                                                                                              Exhibit B - 55
